
USCA1 Opinion

	










          November 17, 1995 UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-1575

                        IN RE:  THINKING MACHINES CORPORATION,

                                       Debtor.
                              _________________________

                            THINKING MACHINES CORPORATION,

                                      Appellee,

                                          v.

                      MELLON FINANCIAL SERVICES CORPORATION #1,

                                      Appellant.

                              _________________________

                                     ERRATA SHEET
                                     ERRATA SHEET

               The opinion of  this court  issued on October  17, 1995,  is
          corrected as follows:

          On page  2, line 13;  page 6, line 24;  page 7, line  2; page 13,
          line  10; page  15,  line  19;  page  17, line  22     change  " 
          365(c)(3)" to "  365(d)(3)"

          On page 7, line 11   change "  365(c)(4)" to "  365(d)(4)"


































                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-1575

                        IN RE:  THINKING MACHINES CORPORATION,

                                       Debtor.
                              _________________________

                            THINKING MACHINES CORPORATION,

                                      Appellee,

                                          v.

                      MELLON FINANCIAL SERVICES CORPORATION #1,

                                      Appellant.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                              _________________________

                                        Before

                           Selya and Stahl, Circuit Judges,
                                            ______________

                             and Gorton,* District Judge.
                                          ______________

                              _________________________

               Kevin  J.  Simard, with  whom  Charles R.  Bennett,  Jr. and
               _________________              _________________________
          Riemer &amp; Braunstein were on brief, for appellant.
          ___________________
               Charles  R. Dougherty, with whom Jonathan C. Lipson and Hill
               _____________________            __________________     ____
          &amp; Barlow were on brief, for appellee.
          ________

                              _________________________

                                   October 17, 1995

                              _________________________

          ______________
          *Of the District of Massachusetts, sitting by designation.
















                    SELYA,  Circuit  Judge.    This appeal  compels  us  to
                    SELYA,  Circuit  Judge.
                            ______________

          address a nagging question of bankruptcy law on which no court of

          appeals  has yet  spoken and  on which  lower federal  courts are

          divided.   The problem relates to the operation of section 365(a)

          of the Bankruptcy Code, 11 U.S.C.   365(a) (1994), a statute that

          permits a Chapter 11  trustee, subject to certain conditions,  to

          assume or reject  any unexpired  lease or  executory contract  in

          existence  on  the  date  the  insolvency  proceeding  commences.

          Because the trustee's actions require court approval, and because

          the  Code  treats nonresidential  leases  differently  than other

          leases or  executory contracts, requiring the  estate to continue

          paying rent at the contract rate until rejection takes effect, 11

          U.S.C.     365(d)(3), a  question arises:    Is court  approval a

          condition precedent or subsequent to the effective rejection of a

          nonresidential lease  pursuant to section 365(a)?   This question

          is of considerably more than academic interest.  Time is money in

          the waiting game  that Chapter 11 often entails,  and substantial

          sums  can ride  on how quickly  the trustee can  jettison a high-

          priced  lease.  In this  case, for example,  the determination of

          which  date controls  carries with  it a  swing of  approximately

          $200,000.

                    The courts  below disagreed on how  the question should

          be  answered.  The  bankruptcy  court  ruled  that  the  debtor's

          rejection  of its lease took effect only  on court approval.  See
                                                                        ___

          In  re  Thinking Machines  Corp., 178  B.R.  31 (Bankr.  D. Mass.
          ________________________________

          1994).  The  district court reversed, holding that  the rejection


                                          3














          was effective on the date that the debtor gave appropriate notice

          of  its decision to reject.1  See  In re Thinking Machines Corp.,
                                        ___  _____________________________

          182 B.R.  365 (D. Mass.  1995).  Concluding,  as we do,  that the

          statute is  most  propitiously  read to  make  court  approval  a

          condition precedent to an effective rejection of a nonresidential

          lease, we now reverse.

          I.  BACKGROUND
          I.  BACKGROUND

                    The material  facts are undisputed.   In 1990, Thinking

          Machines Corporation ("TMC" or "the debtor") leased a building in

          Cambridge,   Massachusetts,   from   Mellon  Financial   Services

          Corporation  #1 ("Mellon").   Apparently,  the environs  were not

          sufficiently  conducive to  fertile thought,  for, on  August 17,

          1994, TMC filed a voluntary petition seeking relief under Chapter

          11 of the Code, 11 U.S.C.    1101-1145.  TMC proceeded to operate

          the business as a  debtor in possession.  It  continued to occupy

          the demised  premises, using only  a fraction  of the space.   On

          September  13, 1994,  TMC filed  a  motion asking  the bankruptcy

          court  to approve  its decision to  reject the lease.   The court

          granted the motion on October 4.

                    Three  weeks   later,   Mellon  moved   for   immediate

          possession   of   the   premises  and   payment   of  $345,915.89
                              
          ____________________

               1This date is sometimes  called, in bankruptcy parlance, the
          "motion filing date."   The label refers to the  requirement that
          the trustee or debtor  in possession must signify an  election to
          accept or reject a particular lease  by the filing of a motion to
          that effect in the bankruptcy court.  See Fed. R. Bankr. P. 6006,
                                                ___
          9014.  Mindful of the pithy advice that St. Ambrose is reputed to
          have offered St.  Augustine ("When you  are at Rome  live in  the
          Roman  style."), see Jeremy  Taylor, Ductor Dubitantium,  I, I, 5
                           ___                 __________________
          (1660), we shall employ this terminology.

                                          4














          (representing administrative  rent accrued  at the  contract rate

          through the date on  which the bankruptcy court had  approved the

          debtor's rejection of the lease, plus associated expenses).   TMC

          parried  this thrust  by touting  the motion  filing date  as the

          effective  date  of  its  rejection (and,  therefore,  the  outer

          boundary of its liability under the lease).  It  also tendered to

          Mellon $143,326.45 (the  amount due under  the lease through  the

          motion filing date).

                    The bankruptcy  judge resolved the dispute  in Mellon's

          favor,  ruling that the rejection  did not take  effect until the

          court had  approved it,  and that,  accordingly, the  debtor owed

          Mellon $210,150.26  (the difference between the  total amount due

          under  the  lease through  October  4  and  the  partial  payment

          previously made  by  the debtor)  plus interest  and common  area

          maintenance  charges.2   See Thinking  Machines, 178 B.R.  at 34.
                                   ___ __________________

          When TMC appealed, the district court took a different slant.  It

          held that  the  rejection occurred  on  September 13,  1994  (the

          motion  filing date),  and that,  therefore, no  further payments

          were  due.  See Thinking Machines, 182  B.R. at 369.  This appeal
                      ___ _________________

          ensued.

          II.  STANDARD OF REVIEW
          II.  STANDARD OF REVIEW

                    We afford plenary review  to determinations of law made

          by a district court  sitting in appellate review of  a bankruptcy

                              
          ____________________

               2We note  an $80 discrepancy between  the bankruptcy court's
          judgment and the  total claimed  arrearage.  This  appears to  be
          traceable to  the court  papers.   We  do not  pursue the  point,
          confident that any necessary adjustment can be made on remand.

                                          5














          court order,  ceding no special deference to  the district court.

          See,  e.g., In re Winthrop Old Farm  Nurseries, Inc., 50 F.3d 72,
          ___   ____  ________________________________________

          73 (1st Cir. 1995); In re  G.S.F. Corp., 938 F.2d 1467, 1474 (1st
                              ___________________

          Cir. 1991); In re Navigation Technology Corp. 880 F.2d 1491, 1493
                      _________________________________

          (1st Cir. 1989).   This standard is fully applicable  here, as it

          is in  all cases in which we are asked to decipher the meaning of

          a statute.   See, e.g., In re Jarvis, 53  F.3d 416, 419 (1st Cir.
                       ___  ____  ____________

          1995); United States  v. Holmquist,  36 F.3d 154,  158 (1st  Cir.
                 _____________     _________

          1994), cert. denied,  115 S.  Ct. 1797 (1995);  United States  v.
                 _____ ______                             _____________

          Gifford, 17 F.3d 462, 472 (1st Cir. 1994).
          _______

          III.  ANALYSIS
          III.  ANALYSIS

                    We  organize our  analysis  in three  segments, dealing

          with  the statutory framework, the  time when the  rejection of a

          nonresidential lease  becomes effective under that framework, and

          the implications of our exercise in statutory construction on the

          calculus of relief.

                             A.  The Statutory Framework.
                             A.  The Statutory Framework.
                                 _______________________

                    Section  365(a) states,  with  exceptions not  relevant

          here,  that "the  trustee, subject to  the court's  approval, may

          assume or reject any executory contract or unexpired lease of the

          debtor."   11  U.S.C.    365(a).3    This proviso  furnishes  the

          trustee  with a multipurpose elixir for use in nursing a business
                              
          ____________________

               3For ease in  reference, we  discuss the issue  in terms  of
          trustees.   We recognize, however, that under Chapter 11 a debtor
          in possession has essentially the same rights, powers, and duties
          as a trustee, see 11 U.S.C.    1107(a), 1108, including the right
                        ___
          under   365(a) to assume or reject a nonresidential lease.  Thus,
          our  comments and  conclusions,  context permitting,  are equally
          applicable to debtors in possession.

                                          6














          back to good health.  On one hand, the trustee  may prescribe the

          elixir as a tranquilizer to ease the fears of squeamish suppliers

          and  customers so that they  will continue doing  business with a

          bankrupt  corporation.   On  the  other  hand,  the  trustee  may

          prescribe  it  as an  emetic to  purge  the bankruptcy  estate of

          obligations that promise to hinder a reorganization.

                    Having  originally  given  Chapter  11  trustees  broad

          latitude in dispensing the  elixir, Congress subsequently diluted

          the  potion.    Since   section  365(a),  as  initially  enacted,

          contained no temporal  boundaries within which  a trustee had  to

          assume  or reject an unexpired lease, and did not require debtors

          to pay rent at  the contract rate while the  trustee equivocated,

          commercial  landlords  felt  themselves   unfairly  disadvantaged

          because,  unlike other  creditors, they  were forced  to continue

          extending  credit to  the  debtor  during  the  pendency  of  the

          reorganization  proceeding.   See  130  Cong.  Rec. 20084,  20088
                                        ___

          (daily  ed. June 29,  1984), reprinted in  1984 U.S.C.C.A.N. 590,
                                       _________ __

          598-99 (statement of Sen. Hatch).   Whether or not love  of money

          is the root of all evil, it is at the least a powerful motivator.

          Spurred   by  financial  self-interest,   the  landlords  lobbied

          successfully  for   passage  of  the  so-called  Shopping  Center

          Amendments  (the  "S/C Amendments")  as  part  of the  Bankruptcy

          Amendments and Federal Judgeship Act of 1984, Pub. L. No. 98-353,

          98 Stat. 333.

                    The  S/C   Amendments   alter  the   equation  in   two

          significant respects.    First, they  direct  the trustee,  in  a


                                          7














          timely fashion, to "perform all the obligations of the debtor . .

          .  under any  unexpired  lease of  nonresidential real  property,

          until such lease is assumed or rejected."  11 U.S.C.   365(d)(3).

          This  provision requires  the trustee,  inter alia,  to  pay rent
                                                  _____ ____

          under the lease at the contract  rate unless and until he rejects

          it, and gives the landlord what  amounts to a preference   in the

          form of an administrative claim   for such avails.  Thus, section

          365(d)(3)  is  a  marked  departure  from  the  tenet,  reflected

          throughout the  Code, that post-petition  administrative expenses

          should be allowed only for "actual, necessary costs and  expenses

          of   preserving  the   [bankruptcy]   estate."     11  U.S.C.    

          503(b)(1)(A).  Second, if the trustee fails to take a position in

          regard to the lease within sixty days from the date  of the order

          for relief under Chapter 11 (or within such  longer period as the

          court,  on application, may fix), the lease is deemed rejected at

          that juncture.  See 11 U.S.C.    365(d)(4).  This provision gives
                          ___

          the bankruptcy estate a  measure of protection against indecision

          or inadvertence on the trustee's part.

                    These  modifications  ameliorate, but  do  not entirely

          solve,  several of  the problems  related to  tenant bankruptcies

          that  historically   have  plagued  commercial  landlords.    One

          surviving problem concerns the  rampant uncertainty as to whether

          a rejection will be deemed effective on the date of the trustee's

          decision or only when the court thereafter endorses the decision.

          It is to this question that we now turn.

                          B.  When Is A Rejection Effective?
                          B.  When Is A Rejection Effective?
                              _____________________________


                                          8














                    The best hope for  capturing congressional intent is by

          focusing   on  the   language   purposefully   deployed  by   the

          legislature.    Thus,  a  statute ordinarily  will  be  construed

          according  to its plain meaning.  See Estate of Cowart v. Nicklos
                                            ___ ________________    _______

          Drilling Co., 112 S. Ct. 2589, 2594 (1992); In re Jarvis, 53 F.3d
          ____________                                ____________

          at 419;  Pritzker v. Yari,  42 F.3d  53, 67-68  (1st Cir.  1994),
                   ________    ____

          cert. denied,  115 S. Ct. 1959 (1995).  But, when Congress' words
          _____ ______

          admit of more than one reasonable interpretation, "plain meaning"

          becomes  an impossible dream, and an inquiring court must look to

          the policies,  principles and purposes underlying  the statute in

          order to  construe it.   See Pritzker,  42 F.3d at  67; see  also
                                   ___ ________                   ___  ____

          Sullivan  v. CIA, 992 F.2d 1249, 1252 (1st Cir. 1993) (explaining
          ________     ___

          that  courts  may  "look  behind  statutory  language"  when  the

          legislature "blows an uncertain  trumpet").  Congress, after all,

          does not legislate in a vacuum.

                    Here,  the protagonists  assure us  that the  statutory

          language is plain, and that we need not go beyond it.  The debtor

          says that under section 365(a)  the rejection of a nonresidential

          lease "plainly" becomes effective on the motion filing date (when

          notice of rejection is given), subject to defeasance in the event

          a judge later vetoes  the trustee's decision.  The  landlord says

          that under section 365(a) the rejection of a nonresidential lease

          "plainly" cannot  become effective until the  court approval date

          (when  the   bankruptcy  court  places  its   imprimatur  on  the

          decision).      The  authorities   are   divided   as  to   which

          interpretation of  the statutory  language is appropriate.   Some


                                          9














          courts (albeit a minority) believe that section 365(a) should  be

          read,  as TMC successfully argued in the district court, to align

          judicial  approval as  a  condition subsequent  to the  trustee's

          independently  effective rejection  of  a  nonresidential  lease.

          See, e.g.,  In re Joseph C. Spiess Co., 145 B.R. 597, 604 (Bankr.
          ___  ____   __________________________

          N.D. Ill.  1992); In  re 1  Potato 2, Inc.,  58 B.R.  752, 755-56
                            ________________________

          (Bankr. D. Minn.  1986).  Other  courts (more numerous,  overall)

          believe, as  Mellon successfully argued in  the bankruptcy court,

          that section 365(a)  should be read to  require judicial approval

          as  a  condition  precedent  to  an  effective  rejection  of   a

          nonresidential lease.  See, e.g., In re Paul Harris Stores, Inc.,
                                 ___  ____  ______________________________

          148 B.R. 307, 309 (S.D. Ind. 1992); In re Federated Dept. Stores,
                                              _____________________________

          Inc., 131 B.R. 808, 815-816 (S.D. Ohio 1991); In re Swiss Hot Dog
          ____                                          ___________________

          Co., 72 B.R. 569,  571 (D. Colo. 1987);  In re 1 Potato 2,  Inc.,
          ___                                      _______________________

          182 B.R.  540, 542  (Bankr. D.  Minn.  1995); In  re Revco  Dept.
                                                        ___________________

          Stores, Inc., 109 B.R 264, 267 (Bankr. N.D. Ohio 1989).  No court
          ____________

          of appeals has ventured to answer the question.4

                    In   our  judgment,   this   collision  of   viewpoints

          underscores  the obvious:   although the  text of  section 365(a)

          plainly indicates that a  trustee's rejection of a nonresidential

                              
          ____________________

               4Contrary   to  Mellon's  characterization,  In  re  Arizona
                                                            _______________
          Appetito's Stores, Inc., 893 F.2d 216 (9th Cir. 1989),  is not on
          _______________________
          point.  There, the Ninth Circuit merely  observed that "rejection
          of an unexpired lease can be accomplished only by an order of the
          bankruptcy court."   Id. at  219-20 (dictum).   The statement  is
                               ___
          correct as far as it goes   but  it does not go far enough.   The
          issue  here  is  not whether  court  approval  is required  under
          section  365(a)     clearly, it  is     but  whether a  purported
          rejection  becomes legally  effective  before court  approval  is
                                                 ______
          secured.

                                          10














          lease  is conditional upon court approval, the text is unclear as

          to  whether that  approval constitutes  a condition  precedent or

          subsequent  to  an effective  rejection.    Consequently, section

          365(a)  is ambiguous  in  this respect.    See United  States  v.
                                                     ___ ______________

          Gibbens, 25 F.3d 28, 34 (1st  Cir. 1994) ("A statute is ambiguous
          _______

          if it can be read in more than one way.").

                    While  the  competing interpretations  proposed  by the

          parties are both reasonable renditions of the statute's language,

          we  believe that section 365(a) is most faithfully read as making

          court approval a  condition precedent to  the effectiveness of  a

          trustee's rejection  of a  nonresidential lease.   Therefore, the

          date of court approval, not the motion filing date, controls.  We

          are guided to this conclusion by several signposts.

                    First and foremost, we think that the  structure of the

          Bankruptcy  Code and  the  nature of  judicial  oversight in  the

          Chapter  11 milieu combine to make it highly likely that Congress

          intended judicial  authorization to  be a condition  precedent to

          rejection.   Bankruptcy is inherently  a judicial process.   From

          the  moment that a debtor's  petition is filed  in the bankruptcy

          court, the debtor's property is in custodia legis.  See 1 William
                                             ________ _____   ___

          C.  Norton,  Jr., Norton  Bankruptcy Law  and  Practice 2d    3:2
                            ________________________________________

          (1994).  From that point forward, the bankruptcy court is charged

          with overseeing the trustee's management in order  to ensure that

          the interests of the bankruptcy estate are served.  See 4 Norton,
                                                              ___

          supra,   77:4.
          _____

                    Judicial oversight of the reorganization  process takes


                                          11














          two  forms.   Many  routine decisions  are  made by  the  trustee

          without any specific clearance from the bankruptcy court, and are

          reviewed (if at all) only in  the course of an examination of the

          trustee's overall stewardship (say, when a plan of reorganization

          is proposed  or when an  application for  fees is filed).   Other

          decisions  are  not   effective  unless  they   are  specifically

          sanctioned by the court.   In those instances,  judicial approval

          is  almost  invariably a  condition  precedent  to the  trustee's

          action.5     Arranging  matters  in  this   sequence  facilitates

          judicial  oversight,  minimizes false  starts,  and  enhances the

          efficiency of the process.  We can  think of no convincing reason

          why  Congress  would  abruptly  depart  from  this tried-and-true

          formula.   More importantly,  we are  confident that if  Congress

          wished to inaugurate  so radical  a change, it  would have  taken

          pains to mark the trail brightly.

                    A second  reason for reading section  365(a) to require

          judicial  approval as  a condition  precedent  to rejection  of a

          nonresidential  lease is  rooted  in history.   Congress  enacted

          section 365(a) as  part of  the Bankruptcy Code  of 1978,  making

          court approval of such rejections  obligatory for the first time.
                              
          ____________________

               5We  note  several  examples.   Before  using,  selling,  or
          leasing property  of the  estate outside  the ordinary course  of
          business, the trustee must seek court approval.  See  11 U.S.C.  
                                                           ___
          363(b)(1).    Unless each  entity that  has  an interest  in cash
          collateral  consents, the  trustee  may not  use cash  collateral
          unless the bankruptcy court  first grants authorization.  See  11
                                                                    ___
          U.S.C.    363(2)(A),  (B).   If the  trustee seeks  extraordinary
          post-petition financing,  he  must first  obtain court  approval.
          See 11 U.S.C.   364(b).  And the trustee may not abandon property
          ___
          of  the  estate,  even  if burdensome,  without  obtaining  court
          approval.  See 11 U.S.C.   554(a).
                     ___

                                          12














          The  predecessor   to  section  365(a),  section   70(b)  of  the

          Bankruptcy Act of 1898,  11 U.S.C.   110(b) (repealed  1978), and

          the applicable bankruptcy  rule governing actions taken  pursuant

          to  section 70(b), Fed. R. Bankr. P. 607 (repealed 1978), did not

          explicitly require judicial approval  of a trustee's rejection of

          a lease, and  many courts  held that the  trustee, acting  alone,

          could make a rejection stick.   See, e.g., Villas &amp;  Sommer, Inc.
                                          ___  ____  ______________________

          v. Mahony  (In re Steelship Corp.),  576 F.2d 128, 132  (8th Cir.
             _______________________________

          1978).  The conclusion is irresistible that Congress, by changing

          the protocol in 1978, intended to involve bankruptcy courts  more

          actively  in the decisional process.  We believe that this policy

          of  increased involvement  is better  served by  viewing judicial

          approval  as  a condition  precedent  to the  effectiveness  of a

          rejection instead of as a condition subsequent.

                    In  a related  vein, we  note that several  courts have

          found  support  for  requiring  court  approval  as  a  condition

          precedent  to  rejection  in   two  extant  rules  of  bankruptcy

          procedure, namely, Fed. R. Bankr.  P. 6006 and 9014.   See, e.g.,
                                                                 ___  ____

          Revco, 109  B.R. at 268.   Read  together, these rules  require a
          _____

          trustee who  desires to reject a lease to file a formal motion to

          that  effect.     This,  too,  constitutes   an  innovation  for,

          previously,  the rules  did not  provide a  formal  procedure for

          rejecting  leases.  We think  this is another  sign that Congress

          intended  courts  to  become  more  involved  in  the  decisional

          process,  and, thus, reinforces our vision of court approval as a

          condition  precedent to  a  valid rejection  of a  nonresidential


                                          13














          lease.

                    The  third reason  for  our view  is  that reading  the

          statute  in the  manner favored  by the  district court  tends to

          reduce a bankruptcy court's order of approval to a bagatelle.  So

          interpreted, the provision would trivialize judicial oversight of

          the rejection  process.   Court orders are  customarily important

          events in the life of a judicial proceeding; they are the primary

          means through  which courts  speak, see, e.g.,  Advance Financial
                                              ___  ____   _________________

          Corp. v. Isla Rica Sales, Inc.,  747 F.2d 21, 26 (1st Cir. 1984),
          _____    _____________________

          and they should  carry commensurate weight.  We see no reason for

          allowing a trustee to substitute his voice for that of the court.

          The trustee may sing all he wants, but it is  the court that must

          call the tune.  Cf. W.A. Mozart,  Le Nozze di Figaro, Act 1, sc.2
                          ___               __________________

          (1786) (Figaro's Aria).

                    Along  the  same  lines,  we think  that  the  district

          court's "valid,  but voidable" construct, see  Thinking Machines,
                                                    ___  _________________

          182 B.R.  at 368, is largely bereft of meaning.  In the rejection

          scenario,  the sole reason for  seeking court approval  is to cut

          off  the debtor's  post-petition  liability, imposed  by  section

          365(d)(3),  under the  unexpired  nonresidential lease.   If  the

          bankruptcy court  disapproves the trustee's motion for rejection,

          then the "rejection"  never had any meaningful legal existence in

          the first  place   the trustee will remain liable for rent at the

          contract rate  from the  inception of the  insolvency proceeding.

          As  judicial approval  will  always  be  the  last  step  in  the

          rejection  pavane, it follows that the trustee's repudiation of a


                                          14














          lease can never be valid in any meaningful sense until the  court

          has acted.

                    A final reason for  our view stems from a  concern that

          treating a  rejection as  "valid, but  voidable" from the  motion

          filing date forward would further ensnarl the tangles inherent in

          the complexities  of modern commerce.   If "valid,  but voidable"

          were the rule, the parties could act on the trustee's notice, and

          their  actions would  have  to  be  undone  if  the  court  later

          disagreed.     Traditionally,   attempts  to   unwind  bankruptcy

          transactions after the fact have proven nettlesome, see, e.g., In
                                                              ___  ____  __

          re Stadium  Mgmt. Corp., 895 F.2d 845, 849 (1st Cir. 1990); In re
          _______________________                                     _____

          Texaco, 92 B.R.  38, 50 (S.D.N.Y. 1988), and  we will not lightly
          ______

          assume  that   Congress   intended   to   invite   these   myriad

          complications.

                    This round  trip back to the future serves to highlight

          the importance of factual certainty in the rejection process.  In

          adopting  a  requirement of  court  approval,  Congress overruled

          precedent that allowed trustees to  show by informal conduct that

          they had either  assumed or rejected  leases (or other  executory

          contracts, for that matter).  Thus, the requirement seems to have

          been designed at least  in part to remedy the  problems attendant

          upon informal or  equivocal rejections   particularly the lack of

          clear notice to landlords as to when they could safely redeem and

          relet  their property.    See  Gregory  G.  Hesse,  A  Return  to
                                    ___                       _____________

          Confusion and Uncertainty as  to the Effective Date  of Rejection
          _________________________________________________________________

          of  Commercial Leases in Bankruptcy,   9 Bankr.  Dev. J. 521, 531
          ___________________________________


                                          15














          (1993) (discussing  legislative history).   Treating  a trustee's

          rejection of a nonresidential lease as "valid, but voidable" tugs

          in  the  opposite direction,  promoting  uncertainty  rather than

          dispelling it.6

                    In an effort to resist the force of these four reasons,

          TMC counters with two principal points.  First, it notes that the

          language  used   in  section   365(a)  is  atypical.     Congress

          traditionally employs the vocabulary  of prior authorization when

          inserting  a  requirement of  court approval  in  the Code.   For

          example, the statutes cited in note  5, supra, all say that  "the
                                                  _____

          court,  after notice  and  a hearing,"  may authorize  particular

          actions.    TMC  visualizes  the somewhat  different  wording  of

          section  365(a) as betokening a  different mechanism.   But it is

          risky  to  read too  much into  Congress'  use of  an alternative

          formulation,  especially when the new language is opaque.  We are

          unwilling,  without  more, to  construe  the mere  absence  of an

          explicit  reference to securing  court approval in  advance as an

          intentional departure  from the  pattern of prior  court approval

          woven throughout the fabric of the Bankruptcy Code.
                              
          ____________________

               6We do  not think that  it is any  real answer to  insinuate
          that "valid, but voidable" is workable because a bankruptcy court
          will usually  support a  trustee's desire to  scrap an  unexpired
          nonresidential  lease.  The magnitude of the harm that a landlord
          might suffer  if the bankruptcy court  subsequently disapproved a
          particular  rejection after  the  landlord  diligently relet  the
          rejected   premises,  or   incurred   substantial   expenses   to
          rehabilitate or  advertise them, brings into  focus the potential
          unfairness inherent  in adopting  the motion  filing date  as the
          effective  date of a rejection.  We  have no reason to think that
          Congress  intended to add an  element of Russian  roulette to the
          already  tumultuous effects  of  the   reorganization process  on
          commercial landlords.

                                          16














                    Next,  TMC  complains  that  using the  date  of  court

          approval  as  the  termination  date of  a  nonresidential  lease

          burdens  the scarce  resources  of bankruptcy  estates.   In this

          respect,  section 365(a), in  conjunction with section 365(d)(3),

          departs from one of the  general themes of Chapter 11 in  that it

          hinders  the trustee's  efforts to  rid the bankruptcy  estate of

          unnecessary  baggage.   But  general themes  are, by  definition,

          general;  they are  not necessarily  controlling in  all specific

          instances.  Since the S/C Amendments purposefully discounted this

          general theme in relation to the specific circumstances presented

          by nonresidential leases, TMC's  policy argument is best directed

          to the legislative, not the judicial, branch.

                    We need go no  further.  For the reasons  limned above,

          we  hold that a rejection of a nonresidential lease under section

          365(a) becomes legally effective only after judicial approval has

          been obtained.

                           C.  Relief Under Section 365(a).
                           C.  Relief Under Section 365(a).
                               ___________________________

                    Although we have decided the precise issue presented on

          appeal, we think it behooves us to make clear that nothing in our

          holding  today precludes  a bankruptcy  court, in  an appropriate

          section 365(a)  case, from approving  a trustee's rejection  of a

          nonresidential  lease retroactive to the  motion filing date.  We

          explain briefly.

                    Bankruptcy courts  are courts of equity,  see Pepper v.
                                                              ___ ______

          Litton, 308 U.S.  295, 304-05  (1939), and,  particularly in  the
          ______

          Chapter  11  context,  they  may  sometimes  abandon   mechanical


                                          17














          solutions in favor  of the pliant reins of  fairness.  See, e.g.,
                                                                 ___  ____

          Winthrop Old Farm  Nurseries, 50  F.3d at 75  (explaining that  a
          ____________________________

          bankruptcy  court,  applying principles  of  equity,  may in  its

          discretion choose between valuation methods).  In the section 365

          context, this means that  bankruptcy courts may enter retroactive

          orders of approval, and should do so when the balance of equities

          preponderates in favor of  such remediation.  See In  re Jamesway
                                                        ___ _______________

          Corp., 179 B.R. 33, 39 (S.D.N.Y. 1995) (holding that a bankruptcy
          _____

          court  can order  rejection retroactive  to an  earlier date  "to

          avoid penalizing the  debtor for an  unnecessary delay caused  by

          the creditor"); see also  In re Garfinckels, Inc., 118  B.R. 154,
                          ___ ____  _______________________

          154  (Bankr. D.D.C.  1990)  (suggesting that,  in the  absence of

          unfair  prejudice, a bankruptcy court may enter an order nunc pro

          tunc  setting the  motion filing  date as  the effective  date of

          approval);  see   generally  11  U.S.C.      105(a)  (authorizing
                      ___   _________

          bankruptcy courts to "issue any order,  process, or judgment that

          is necessary or appropriate to carry out the provisions" of Title

          11).

                    Of course,  the equitable powers  of bankruptcy  courts

          are  not unlimited.   They  can only  be brought  to bear  in the

          service  of the Bankruptcy Code.   See Norwest Bank, Worthington,
                                             ___ _________________________

          v. Ahlers, 485 U.S. 197, 206 (1988).   Thus, a bankruptcy court's
             ______

          exercise of its residual equitable  powers must be connected  to,

          and  advance the  purposes of,  specific provisions in  the Code.

          See, e.g., In re Hoffman Bros. Packing Co.,  173 B.R. 177, 185-86
          ___  ____  _______________________________

          (Bankr. 9th  Cir. 1994)  (invalidating nunc pro  tunc order  that


                                          18














          contradicted  an  express  Code  provision).    There  is  little

          question, however, that a retroactive order may be appropriate as

          long   as  it   promotes   the  purposes   of  section   365(a).7

          Consequently, we rule that a bankruptcy court, when principles of

          equity  so dictate, may  approve a rejection  of a nonresidential

          lease pursuant to section 365(a) retroactive to the motion filing

          date.8

                    The fact  that the  bankruptcy court has  the power  to

          approve the  trustee's rejection  of an  unexpired nonresidential

          lease retroactive to the  motion filing date has a  salutary side

          effect; it should act  as a stimulus to all parties  to cooperate

          in getting the trustee's motion to reject heard and determined at

          the  earliest practicable  date.   Moreover,  the possibility  of

          retroactivity  helps to explain the seeming rift in the case law.

          Witness,  for example, In re  Joseph C. Spiess  Co., 145 B.R. 597
                                 ____________________________

          (Bankr. N.D. Ill. 1992),  the leading case cited by  the district

          court in support of its "valid, but voidable" rationale.  A close

          reading of Spiess indicates  that the court may have  reached its
                     ______

          ultimate  conclusion    that  the  rejection took  effect  on the
                              
          ____________________

               7Retroactive approval orders do not  contradict   365(c)(3).
          While  that provision  commands the  trustee to  pay rent  at the
          contract rate until  a nonresidential lease is rejected,  it does
          not   stipulate  that  a  rejection   cannot  be  made  to  apply
          retroactively.  See Jamesway, 179 B.R. at 37.
                          ___ ________

               8We note, in this  connection, that because such retroactive
          orders  are  within  the  bankruptcy  court's  sound  discretion,
          appeals from  a bankruptcy court's  disposition of a  request for
          retroactive relief will be reviewed only for abuse of discretion.
          See, e.g., Jarvis, 53 F.3d at 420; Grella v. Salem Five Cent Sav.
          ___  ____  ______                  ______    ____________________
          Bank, 42 F.3d 26, 30  (1st Cir. 1994); In re Gonic  Realty Trust,
          ____                                   _________________________
          909 F.2d 624, 626 (1st Cir. 1990).

                                          19














          motion filing date as opposed to the court approval date   on the

          basis  of  equitable, rather  than  statutory,  principles.   The

          court's actual holding is  illuminating.  After determining "that

          the trustee's rejection of  a lease should be retroactive  to the

          date  that trustee takes  affirmative steps to  reject said lease

          such as serving notice on motion to reject," the  court held that

          a court-approved rejection of  an unexpired nonresidential  lease

          could  "apply retroactively to  the date the  trustee notices the

          motion requesting same."  Spiess, 145 B.R. at 606.   Thus, Spiess
                                    ______                           ______

          can  fairly  be  read  as  an  instance  of  a  bankruptcy  court

          recognizing  that  retroactive  approval  orders  are within  its

          equitable  powers  under  section  365(a),  and  acting  on  that

          realization.

                    Reading  Spiess  in  this manner  bridges  the apparent
                             ______

          conflict  in the case law.  Doctrinal incoherence vanishes, and a

          single black-letter rule emerges:  rejection under section 365(a)

          does  not take effect until judicial approval is secured, but the

          approving court  has the equitable  power, in suitable  cases, to

          order a rejection to operate retroactively.9

          IV.  CONCLUSION
          IV.  CONCLUSION

                    We reverse  the decision of the  district court, vacate

          its order, and direct that it remand the matter to the bankruptcy

          court (which, if it  so elects, may in its  discretion reconsider

                              
          ____________________

               9Because  no  two cases  are  exactly alike,  we  eschew any
          attempt to  spell  out  the  range of  circumstances  that  might
          justify the use of  a bankruptcy court's equitable powers in this
          fashion.  That exercise is best handled on a case-by-case basis.

                                          20














          its original order in light of this opinion).





                    The judgment of the district court is reversed, and the
                    The judgment of the district court is reversed, and the
                    _______________________________________________________

          cause is  remanded  to the  district court  with instructions  to
          cause is  remanded  to the  district court  with instructions  to
          _________________________________________________________________

          remit  the case  to  the bankruptcy  court.   Costs  in favor  of
          remit  the case  to  the bankruptcy  court.   Costs  in favor  of
          __________________________________________    ___________________

          appellant.
          appellant.
          _________








































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